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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JAMIE HOFF                                        )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )   Case No.:
                                                  )
NATIONAL HEALTHCARE                               )
COLLECTIONS, LLC                                  )   JURY TRIAL DEMANDED
                                                  )
                       Defendant.                 )

                                    NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant National Healthcare Collections,

LLC (“NHC”) hereby removes this action from the 11th Judicial Circuit, St. Charles County,

Missouri. As grounds for removal, NHC states as follows:

         1.     On August 13, 2012, Plaintiff filed a lawsuit captioned Jamie Hoff v. National

Healthcare Collections, LLC, Case No. 1211-AC05815, in the 11th Judicial Circuit, St. Charles

County, Missouri (the “State court action”). A true and correct copy of the Petition filed in the

State court action and Associate Division Summons (“Summons”) issued in the State court

action are attached hereto as Exhibit A.

         2.     NHC was served a copy of the Petition and Summons on or after August 14,

2012. As is required by 28 U.S.C. § 1446(b), this Notice of Removal is filed within 30 days of

service on NHC of the “Notice and Summons” and Plaintiff’s initial pleading.

         3.     In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders served upon NHC in the State court action are attached hereto at Exhibit A.

         4.     Any civil action filed in a State court over which the federal district courts would

have original jurisdiction may be removed. 28 U.S.C. § 1441(a).


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         5.     The above-captioned case is removable because this Court has original subject

matter jurisdiction on federal question grounds pursuant to 28 U.S.C. § 1331.

         6.     As is stated in Plaintiff’s Petition, this case arises under federal law -- more

particularly under the Fair Debt Collections Practices Act, 15 U.S.C. § 1692 et. seq.

         7.     Accordingly, this case can be properly removed to this Court pursuant to 28

U.S.C. § 1331 because federal question jurisdiction exists.

         8.     Under the provisions of 28 U.S.C. § 1441(a), the United States District Court for

the Eastern District of Missouri is the federal court for the district and division embracing the

place where the State court action is pending (i.e., St. Charles County, Missouri).

         9.     NHC has complied with all applicable requirements of 28 U.S.C. § 1446 for

removing this action, including giving written notice of the filing of this Notice of Removal to

Plaintiff and filing a copy of the Notice of Removal with the clerk of the 11th Judicial Circuit, St.

Charles County, Missouri.

         WHEREFORE, Defendant NHC gives notice that this action is hereby removed from the

11th Judicial Circuit Court, St. Charles County, Missouri, to the United States District Court for

the Eastern District of Missouri.




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                                                     Respectfully Submitted,

                                                     HUSCH BLACKWELL LLP

                                                     /s/ Nathan D. Sturycz
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                                                     Fax: 314.480.1505
                                                     nathan.sturycz@huschblackwell.com
                                                     Attorney for Defendant National Healthcare
                                                     Collections, LLC




                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 14, 2012, the foregoing was filed
electronically with the Clerk of the Court and served by operation of the Court's electronic filing
system, U.S. First Class Mail postage prepaid, to the following counsel of record:

         Richard Anthony Voytas, Jr.
         James W. Eason
         Eason & Voytas, LLC
         1 North Taylor Avenue
         St. Louis, MO 63108

         Attorneys for Plaintiff


                                                     /s/ Nathan D. Sturycz




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